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                   HIGHLY CONFIDENTIAL – NOT TO BE DISTRIBUTED
              Confidential Settlement Communication, Not For Distribution or Discovery
                               Pursuant to Federal Rule of Evidence 408

[The following is intended to summarize certain basic terms of the proposed Cash Flow DIP
Facility and related accommodations. It is not intended as a definitive list of all of the Cash Flow
DIP Lender’s requirements or conditions in connection with the proposed arrangements. This
indicative non-binding term sheet does not constitute a commitment to provide the proposed Cash
Flow DIP Facility or other accommodations on these or any other terms or a binding obligation
of any sort. These summary indicative terms and conditions are confidential and should be treated
as such and should not be discussed with any other party, except for the DIP Borrower and its
advisors.]

                             Summary of Cash Flow DIP Financing Terms


   Borrower:                        First Guaranty Mortgage Corporation (“FGMC” or the “DIP
                                    Borrower”).

   Guarantors:                      Each direct and indirect subsidiary of FGMC, including any such
                                    subsidiary filing petitions for relief under the Bankruptcy Code
                                    (together with FGMC, collectively, the “Debtors”), as debtors and
                                    debtors-in-possession under the Bankruptcy Code in the Cases shall
                                    guaranty repayment of the Cash Flow DIP Facility (defined below).

   Venue                            The Debtors will file the Cases in the United States Bankruptcy
                                    Court for the District of Delaware (the “Bankruptcy Court”). The
                                    date of the filing of the Cases will be referred to as the “Petition
                                    Date.”

   Cash Flow DIP Lender:            LVS II SPE XXXIV LLC (including any permitted assignees and
                                    successors, the “Cash Flow DIP Lender”)

   Cash Flow DIP                    The Cash Flow DIP Lender’s commitment shall consist of (a) a
   Facility/Availability:           senior secured, superpriority multi-draw term loan facility, in the
                                    aggregate amount not to exceed the sum of (i) $22,000,000 (the
                                    “Operating Amount”) plus (ii) the Mortgage Loan Funding
                                    Amounts (as defined below), plus (iii) the Pipeline Sale Transaction
                                    Funding Amounts (as defined below) and (b) subject to entry of the
                                    Final Cash Flow DIP Order (as defined below), a roll up facility
                                    consisting of the Roll-Up Obligations (defined below), which
                                    would be made available as debtor-in-possession financing (the
                                    “Cash Flow DIP Facility” and the loans made thereunder, the
                                    “Cash Flow DIP Loans”) to be provided by the Cash Flow DIP
                                    Lender to the DIP Borrower, as debtor-in-possession, in the Cases.



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                               “Mortgage Loan Funding Amounts” shall mean amounts required
                               to fund (i) the amount (not to exceed $16,000,000 in the aggregate)
                               which comprises the excess, if any, of (A) the original principal
                               balance of each mortgage loan originated by the Borrower (not to
                               exceed $125 million in the aggregate) and sold to the Repo DIP
                               Facility minus (B) the amount of funding provided by the Repo DIP
                               Lender in respect of such originated loan, plus (ii) any mark to
                               market losses incurred in connection with the Repo DIP Facility in
                               an amount not to exceed $3,600,000 in the aggregate, plus (iii) all
                               professional fees incurred in connection with the Repo DIP Facility
                               in an amount not to exceed $600,000 in the aggregate, plus (iv) non-
                               utilization fees and interest or pricing fees incurred under the Repo
                               DIP Facility in amount not to exceed $200,000, in each case, solely
                               to the extent not satisfied first from the proceeds of DIP Repo
                               Collateral.

                               “Pipeline Sale Transaction Funding Amounts” shall mean amounts
                               required to fund (i) a work fee, in an amount acceptable to the Cash
                               Flow DIP Lender in its sole discretion, with respect to a pipeline
                               purchase facility transaction approved by the Cash Flow DIP
                               Lender and consistent with the Approved Budget (the “Pipeline
                               Sale”) and (ii) any mark to market losses incurred in connection
                               with the Pipeline Sale in an amount not to exceed $3,600,000.
                               Up to $11,000,000 out of the Operating Amount, plus access to the
                               Mortgage Loan Funding Amounts and the Pipeline Sale
                               Transaction Funding Amounts, during the interim period shall be
                               made available to the DIP Borrower on an interim basis (subject to
                               disbursement in accordance with the Approved DIP Budget (as
                               defined below)) upon the date that the conditions precedent to the
                               “Effective Date” under the Cash Flow DIP Facility have been
                               satisfied, including entry of the Interim Cash Flow DIP Order.

                               The remainder of the Cash Flow DIP Facility shall be made
                               available to the DIP Borrower (subject to disbursement in
                               accordance with the Approved DIP Budget) following the entry of
                               the Final Cash Flow DIP Order and subject to the satisfaction of the
                               conditions precedent to such borrowings.
   Purposes:                   The Cash Flow DIP Facility shall be available for the following
                               purposes, in each case in accordance with the terms of the then-
                               Approved DIP Budget:

                               (a) to fund the Debtors’ working capital requirements, operating
                                   expenses, and other line items in accordance with the terms of
                                   the Approved DIP Budget (subject to agreed variances)


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                                     including the reasonable fees and expenses of the Debtors’
                                     professionals;

                               (b) [reserved];

                               (c) following the entry of the Final Cash Flow DIP Order, to fund
                                   the Roll-Up Obligations (as defined below) following payment
                                   of the Cash Flow DIP Obligations (as defined in the Cash Flow
                                   DIP Motion);

                               (d) to pay fees and expenses of the Cash Flow DIP Lender related
                                   to the Cash Flow DIP Facility and the Cases, including, without
                                   limitation, reasonable out of pocket fees of attorneys and other
                                   professional advisors of the Cash Flow DIP Lender, including,
                                   without limitation, Greenberg Traurig, LLP, and any financial
                                   advisor that may be retained by the Cash Flow DIP Lender.

                               No proceeds of the Cash Flow DIP Facility shall be transferred to,
                               or used by, any entity other than the DIP Borrower, except as
                               permitted under the Approved DIP Budget, and the Interim Cash
                               Flow DIP Order or Final Cash Flow DIP Order, as applicable. No
                               portion of the Cash Flow DIP Facility or the Carve-Out (as defined
                               below) shall be used to assert any claim, cause of action or objection
                               against the Cash Flow DIP Lender or any its affiliates or any of their
                               respective employees, officers, directors, advisors, investment
                               managers, agents and subagents, including, without limitation, to
                               challenge any claim or lien of the Bridge Lender or the priority,
                               validity or enforceability of the Prepetition Bridge Loan
                               Documents, and/or challenging any prepetition payment or transfer
                               to the Bridge Lender or its affiliates.

                               No proceeds of the Cash Flow DIP Facility consisting of Mortgage
                               Loan Funding Amounts shall be used for any purpose other than (a)
                               funding mortgage loan closings and (b) fees, guarantees,
                               professional fees, interest and hedging fees, hedging losses and
                               expenses incurred, in each case, pursuant to the Repo DIP Facility.

                               No proceeds of the Cash Flow DIP Facility consisting of Pipeline
                               Sale Transaction Funding Amounts shall be used for any purpose
                               other than to fund the Pipeline Sale.

   Roll-Up                     The portion of the Prepetition Bridge Obligations related to
                               mortgage loans financed by the Bridge Lender shall be refinanced
                               by the Repo DIP facility to be provided by Barclays Bank PLC (the
                               “Repo DIP Facility”). Upon entry of the Final Cash Flow DIP
                               Order, all of the Prepetition Bridge Obligations remaining after such
                               refinancing shall be rolled-up and converted into a portion of the
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                               outstanding Cash Flow DIP Obligations under the Cash Flow DIP
                               Facility (the “Roll-Up Obligations”).

   Prepetition Loan            (a) that certain Amended and Restated Loan Agreement dated as of
   Documents:                  July 17, 2019, between FGMC and Customers Bancorp, Inc.
                               (“Customers”) (as the same may have been amended, restated,
                               supplemented, or otherwise modified from time to time before the
                               date hereof);

                               (b) that certain Mortgage Warehousing Loan and Security
                               Agreement dated as of June 30, 2017, between FGMC and Flagstar
                               Bank, FSB (“Flagstar”) (as the same may have been amended,
                               restated, supplemented, or otherwise modified from time to time
                               before the date hereof); and

                               (c) that certain Second Amended and Restated Secured Promissory
                               Note dated as of June 29, 2022, between FGMC and B2 FIE XI
                               LLC (“Bridge Lender”; and together with Customers, and Flagstar,
                               each, a “Prepetition Lender” and, collectively, the “Prepetition
                               Lenders”) (as the same may have been amended, restated,
                               supplemented, or otherwise modified from time to time before the
                               date hereof).

                               (each of the foregoing, together with the other agreements,
                               documents, notes and instruments entered into in connection with
                               the same, the “Prepetition Loan Documents”). The Collateral (as
                               defined in the Prepetition Loan Documents) subject to the liens of
                               the Prepetition Lenders shall be referred to herein as the
                               “Prepetition Loan Collateral.”

   Interest Rate:              The Cash Flow DIP Obligations shall bear interest at the rate of
                               11.0% per annum (plus an additional 2.0% per annum upon the
                               occurrence and during the continuance of an event of default).
                               Interest shall be payable in kind monthly in arrears and on the
                               Termination Date.

   Fees:                       Upon entry of the Interim Cash Flow DIP Order and the Final Cash
                               Flow DIP Order, as applicable, the Cash Flow DIP Lender shall
                               receive, for the ratable benefit of each Cash Flow DIP Lender, a
                               non-refundable closing fee (“DIP Closing Fees”) in the amount of
                               2.00% of the new money made available under the Cash Flow DIP
                               Facility authorized by such order, which such DIP Closing Fee shall
                               be payable in kind, which first payment shall be earned in full and
                               payable in cash upon the closing date of the Cash Flow DIP Facility



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                               (the “Cash Flow DIP Closing Date”). No DIP Closing Fees shall
                               be payable with respect to any Roll-Up Obligations.



   Maturity:                   The termination date (the “Termination Date”) of the Cash Flow
                               DIP Facility means the earliest to occur of:

                               (a)      150 days after the Petition Date (the “Maturity Date”).
                               (b)      35 days after the Petition Date if a final order approving the
                               Cash Flow DIP Loan is not entered, unless extended by the DIP
                               Borrower and the Cash Flow DIP Lender (the “Final Cash Flow
                               DIP Order Deadline”).
                               (c)      The effective date of an acceptable plan;.
                               (d)      The date of consummation of the sale of all or substantially
                               all of the assets of the Debtors.
                               (e)      The date of termination of the Commitments (including as a
                               remedy from an event of default).

                               Upon the Termination Date, the Cash Flow DIP Lender is entitled
                               to immediate payment of any and all amounts owing under the Cash
                               Flow DIP Documents.

   DIP Budget; Reporting:      The Debtors have prepared and delivered a cash flow forecast, in
                               form and substance acceptable to, and consented to by, the Cash
                               Flow DIP Lender (attached hereto as Exhibit A, the “Initial DIP
                               Budget”), setting forth all line-item and cumulative receipts and
                               operating disbursements on a weekly basis for the period beginning
                               as of the week of the Closing Date through and including the
                               thirteenth (13th) week after such week. The Initial DIP Budget shall
                               be deemed the “Approved DIP Budget” for all purposes of the Cash
                               Flow DIP Documents until superseded by any Updated DIP Budget
                               (as defined below) that subsequently is consented to by the Cash
                               Flow DIP Lender.

                               On or before 5:00 p.m. New York City time on Thursday of each
                               week, the Debtors shall deliver (a) a supplement to the Initial DIP
                               Budget (or the previously supplemented Approved DIP Budget, as
                               the case may be), covering the subsequent 13-week period that
                               commences with the week immediately following the date of
                               delivery of the supplemental budget (and which, for the avoidance
                               of doubt, cannot modify previous weeks), consistent with the form
                               and level of detail set forth in the Initial DIP Budget and otherwise
                               in form and substance reasonably acceptable to, and consented to
                               by, the Cash Flow DIP Lender in its discretion (each such
                               supplemental budget, an “Updated DIP Budget”), (b) an actual
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                               consolidated cash flow of the Debtors for the week preceding the
                               first week of such Updated DIP Budget, showing line item variances
                               between actual results and projected results (if applicable) for such
                               week from the most recent Approved DIP Budget delivered
                               pursuant to clause (a), in each case in a form reasonably acceptable
                               to the Cash Flow DIP Lender which (I) shall be prepared on a
                               consolidated basis for the Debtors, approved and certified by the
                               Chief Restructuring Officer of the Debtors, as being accurate in all
                               material respects (or in the case of the projections, as being
                               projections believed to be reasonable at the time furnished, prepared
                               in good faith based on assumptions believed to be reasonable at the
                               time furnished), and (II) shall (A) show, in the case of clause (a),
                               projected cash receipts and projected cash disbursements, (B)
                               include for such period, in the case of clauses (a) and (b), a summary
                               of collections, disbursements, outstanding checks and interest
                               payments, (C) in the case of clause (b), include a line item variance
                               report setting forth (x) actual results against anticipated results
                               under the Approved DIP Budget for the week in regard to which
                               such accompanying cash flow forecast is being delivered, reported
                               in the aggregate (highlighting key line items) as of the end of such
                               period, (y) variances in dollar amounts and percentages, and (z) a
                               written explanation for all line item variances of greater than 10%
                               for the applicable week, and (D) such other information as the Cash
                               Flow DIP Lender may reasonably request (such items described in
                               this clause (b), the “Variance Report”).

                               Upon (and subject to) the approval of any such Updated DIP Budget
                               by the Cash Flow DIP Lender in its sole discretion, such Updated
                               DIP Budget shall constitute the then-approved Approved DIP
                               Budget. To the extent that a proposed Updated DIP Budget is not
                               approved by the Cash Flow DIP Lender, the Initial Budget or last
                               approved Updated DIP Budget shall remain in full force and effect.

                               As of the Friday after the second calendar week ending after the
                               Petition Date and on each Friday thereafter (each a “Testing Date”
                               and, as to the first three Testing Dates, the period between the
                               Petition Date to the Testing Date and, as to subsequent Testing
                               Dates, the four weeks prior to the Testing Date, a “Testing Period”),
                               the Debtors shall not permit (i) the amount of receipts in any line
                               item during such Testing Period to be less than 90% of the amount
                               of receipts for such line item as set forth in the Approved DIP
                               Budget for such Testing Period or (ii) the amount of disbursements
                               (for the avoidance of doubt, excluding professional fees, which
                               must be no more than 100% of the amount set forth in the Approved
                               DIP Budget for such Testing Period) in any line item during such
                               Testing Period to be greater than 110% of the amount of
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                                 disbursements for such line item as set forth in the Approved DIP
                                 Budget for such Testing Period; provided, however, that for
                                 purposes of testing the relevant line items in the Approved DIP
                                 Budget are the following: “Asset Sales/Recoveries” and “Total
                                 Operating Disbursements” (calculated without giving effect to
                                 “Professional Fees”), and “Professional Fees” (the “Budget
                                 Compliance Covenant”).

                                 The Debtors shall (i) require their attorneys and advisors to have a
                                 weekly call with advisors and attorneys of the DIP Lender, at a time
                                 to be mutually agreed, (ii) require senior management (including
                                 Aaron Samples, Thomas Ramm, and Darien Oien), the Chief
                                 Restructuring Officer (as defined below), and the Operations
                                 Consultant (defined below) to have calls with the DIP Lender each
                                 Monday, Wednesday, and Friday of each week (and more
                                 frequently if an Event of Default has occurred and is continuing),
                                 (iii) upon the request of the Cash Flow DIP Lender, from time to
                                 time conduct Cash Flow DIP Lender presentations by senior
                                 management (including Aaron Samples, Thomas Ramm, and
                                 Darien Oien), the Chief Restructuring Officer, and the Operations
                                 Consultant regarding any plans, sale, and the marketing process and
                                 the other business and affairs of the Debtors, and (iv) allow the Cash
                                 Flow DIP Lender to have direct access to senior management
                                 (including Aaron Samples, Thomas Ramm, and Darien Oien), the
                                 Chief Restructuring Officer, and the Operations Consultant from
                                 time to time in its discretion to discuss the plan, sale, and the
                                 marketing process and the other business and affairs of the Debtors.
   Chief Restructuring Officer   (a) The board of directors of FGMC (the “Board”) and each Debtor
   and Operations Consultant:    shall be required to appoint and retain a representative of FTI
                                 Consulting (which person shall be acceptable to the Cash Flow DIP
                                 Lender (Tanya Meerovich of FTI Consulting is acknowledged as
                                 acceptable for this role) and employed on terms and conditions
                                 acceptable to the Cash Flow DIP Lender), as a “chief restructuring
                                 officer” of each Debtor to handle, subject to the approval and
                                 supervision of the Board, all matters related to the Debtors’ finances
                                 (including disbursements), budgetary matters, restructuring matters,
                                 plan matters, sale matters and the chapter 11 cases generally (the
                                 “Chief Restructuring Officer”). The Chief Restructuring Officer
                                 shall not be replaced or removed or have its duties changed, in each
                                 case, without the prior written consent of Cash Flow DIP Lender.
                                 The Chief Restructuring Officer shall use such other representatives
                                 of FTI Consulting to assist in performing the duties delegated to the
                                 Chief Restructuring Officer and such representatives shall be
                                 retained as temporary employees of the Debtors. The Chief
                                 Restructuring Officer shall (i) be at all times retained by the
                                 Debtors, (ii) prepare each Approved DIP Budget and variance
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                               reports and any other projections and cash flow forecasts of the
                               Debtors, (iii) assist the Debtors in all aspects of their financial
                               affairs, budgeting and reporting requirements under the Cash Flow
                               DIP Facility and (iv) perform any such actions or other actions as
                               are typically performed determined by a chief restructuring officer.
                               The Chief Restructuring Officer shall report to the Board.

                               (b) The Board and each Debtor shall be required to appoint and
                               retain an operations consultant (who shall be acceptable to Cash
                               Flow DIP Lender) on terms and conditions acceptable to the Cash
                               Flow DIP Lender in its sole discretion), as an “operations
                               consultant” of each Debtor to consult on matters related to the
                               Debtors’ ongoing operations during the Cases (the “Operations
                               Consultant”). The Operations Consultant shall not be permitted to
                               be replaced or removed or have its duties changed, in each case,
                               without the prior consent of Cash Flow DIP Lender. The
                               Operations Consultant shall (i) be at all times retained by the
                               Debtors and (ii) consult with the Debtors in all aspects of their
                               operations. The Operations Consultant shall report to the Chief
                               Restructuring Officer.

   Milestones:                 Failure to satisfy any of the following milestones (each, a
                               “Milestone”) by the date specified for such Milestone shall
                               constitute an immediate event of default under the Cash Flow DIP
                               Facility:

                                (a)     Within 4 business days after the Petition Date, the entry of
                                the Interim Cash Flow DIP Order;
                                (b)     Within 30 days of the Petition Date, filing of a plan and
                                disclosure statement in forms acceptable to the Cash Flow DIP
                                Lender;
                                (c)     Within 60 days of the Petition Date, sale of all or
                                substantially all of the Debtors’ MSR portfolio and receipt of all
                                proceeds from servicing released sales, which sales shall be
                                acceptable to the Cash Flow DIP Lender;
                                (d)     Within 90 days of the Petition Date, sale of all or
                                substantially all of FGMC’s pipeline of loans, which sales shall be
                                acceptable to the Cash Flow DIP Lender;
                                (e)     Within 90 days of the Petition Date, sale of all or
                                substantially all of the repurchased loans and haircut unfunded
                                loans as of the Petition Date, which sales shall be acceptable to the
                                Cash Flow DIP Lender;
                                (f)     Within 90 days of the Petition Date, substantial cessation of
                                all loan operations;
                                (g)     Within 35 days of the Petition Date, entry of the Final Cash
                                Flow DIP Order in a form acceptable to the Cash Flow DIP Lender;

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                                (h)    Within 50 days of the Petition Date, court approval of a
                                disclosure statement, which order shall be in a form acceptable to
                                the Cash Flow DIP Lender;
                                (i)    Within 110 days of the Petition Date, entry of a confirmation
                                order, confirming a plan acceptable to the Cash Flow DIP Lender;
                                (j)    Within 120 days of the Petition Date, substantial plan
                                consummation and occurrence of the plan’s effective date.



   Security and Priority:      As set forth in the Interim Cash Flow DIP Order

   Carve-Out:                  The “Carve-Out” means the sum of:

                                     (a) all unpaid fees required to be paid to the Clerk of the Court
                                         and to the Office of the United States Trustee under section
                                         1930(a) of title 28 of the United States Code;

                                     (b) to the extent allowed by the Bankruptcy Court (regardless
                                         of whether the order allowing such fees is entered before or
                                         after the Carve-Out Notice is received) and in an aggregate
                                         amount on a line item basis not exceeding the budgeted
                                         amounts for such unpaid professional fees and
                                         disbursements as reflected in the Approved DIP Budget, (i)
                                         as of the date of delivery of the Carve-Out Notice (as
                                         defined below), all accrued and unpaid fees and expenses
                                         incurred by persons or firms retained by (A) the Debtors
                                         pursuant to sections 327, 328 or 363 of the Bankruptcy Code
                                         (the “Debtors’ Professionals”), or (B) any statutory
                                         unsecured creditors’ committee appointed in the Cases
                                         pursuant to section 1103 of the Bankruptcy Code (the
                                         “Committee” and its professionals retained as set forth
                                         herein, the “Committee’s Professionals” and with the
                                         Debtors’ Professionals, the “Professionals”) and (ii) after
                                         the delivery of a Carve-Out Notice, all unpaid fees and
                                         expenses incurred by the Professionals in an aggregate
                                         amount not to exceed $200,000;

                                     (c) any accrued and unpaid postpetition fee and expense claims,
                                         without regard to when such fees and expenses accrued,
                                         related to the appointment of the Chief Restructuring
                                         Officer and the Operations Consultant, in each case, in
                                         accordance with the Approved DIP Budget, including any
                                         interim or final approval as set forth in any order of the
                                         Court approving the appointment of any Chief
                                         Restructuring Officer and the Operations Consultant or, if
                                         applicable, any procedures approved by the Court relating
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                                        to the compensation of the Chief Restructuring Officer and
                                        the Operations Consultant; provided, however, that any
                                        Court-approved bonus, transaction, success fees,
                                        completion fees, substantial contribution fees, or any other
                                        fees of similar import shall be paid solely from the net
                                        proceeds of the Court approved transaction giving rise to
                                        such award;

                                    (d) in the event of a conversion of the Chapter 11 Cases to cases
                                        under chapter 7 of the Bankruptcy Code, allowed fees and
                                        expenses incurred by a trustee and any professional retained
                                        by such trustee, in an aggregate amount not to exceed
                                        $25,000; provided, however, no portion of the Carve-Out
                                        shall be utilized for the payment of professional fees and
                                        disbursements incurred in connection with any challenge to
                                        (i) the amount, extent, priority, validity, perfection or
                                        enforcement of the indebtedness of the Debtors owing to the
                                        Cash Flow DIP Lender or the Bridge Lender or any of its
                                        affiliates, or (ii) liens or security interests in the collateral
                                        securing such indebtedness, including challenges to the
                                        perfection, priority or validity of the liens granted in favor
                                        of the Cash Flow DIP Lender or the Bridge Lender or any
                                        of its affiliates with respect thereto.

                               The Carve-Out and the Cash Flow DIP Loans may not be used to
                               investigate or challenge the validity, perfection, priority, extent, or
                               enforceability of the Cash Flow DIP Facility, or the liens or security
                               interests securing the Cash Flow DIP Facility, or assert any claims
                               against the lenders or agents under the Prepetition Loan Documents;
                               provided that any Committee’s Professional may incur up to
                               $30,000 to investigate the liens and claims under the Prepetition
                               Loan Documents or any other challenges to the Debtors’
                               stipulations in favor of the Bridge Lenders.

                               Any funding of the Carve-Out shall constitute advances under the
                               Cash Flow DIP Facility secured by the Cash Flow DIP Collateral
                               and shall be otherwise entitled to the protections granted under the
                               Interim Cash Flow DIP Order, the Final Cash Flow DIP Order, the
                               Bankruptcy Code and applicable law. The Carve-Out shall not
                               reduce the amounts payable to the Cash Flow DIP Lender under the
                               Cash Flow DIP Facility. All amounts owed to Debtors’
                               Professionals and the Committee’s Professionals under the Carve-
                               Out must be allowed by order of the Bankruptcy Court. Nothing
                               herein shall be construed to impair the ability of any party to object
                               to any of the fees, expenses, reimbursement or compensation
                               described in clause (b). The Debtors shall be authorized to fund a

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                               reserve equal to the Carve-Out on a weekly basis consistent with
                               the Approved Budget.

                               For purposes of the foregoing, “Carve-Out Notice” shall mean a
                               written notice delivered by the Cash Flow DIP Lender to the
                               Debtors and their counsel, the Office of the United States Trustee,
                               and counsel to the Committee, which notice may be delivered
                               following the occurrence and during the continuance of an Event of
                               Default.
   Adequate Protection:        As adequate protection for, and equal in amount to, any diminution
                               in the value of the interests of the Prepetition Lenders in the
                               Prepetition Loan Collateral, each Prepetition Lender will receive,
                               subject in each case to the Carve-Out, the following as adequate
                               protection:

                               (a) a superpriority administrative expense claim against each of the
                               Debtors solely to the extent of any diminution in value of such
                               Prepetition Lender’s Prepetition Loan Collateral, which shall be
                               senior to all other administrative expense or other claims, but
                               subject and subordinate to (i) the Cash Flow DIP Superpriority
                               Claims, (ii) the DIP Repo Superpriority Claims, and (iii) the Carve-
                               Out.

                               (b) a replacement security interest and lien on the same property of
                               the Debtors on which a perfected, first-priority security interest and
                               lien was held before the Petition Date pursuant to such Prepetition
                               Lender’s Prepetition Loan Documents, subordinate only to (i) Liens
                               permitted to be senior under such Prepetition Lender’s Prepetition
                               Loan Documents, (ii) the Cash Flow DIP Liens, (iii) the DIP Repo
                               Guarantee Liens, and (iv) the Carve-Out.

   Releases and Stipulations   Subject to the right of other parties in interest with standing, the
                               Debtors shall (i) stipulate to the amount, validity, enforceability,
                               perfection and unavoidability of the prepetition obligations and the
                               liens of the Bridge Lender upon the Prepetition Bridge Loan
                               Collateral, (ii) acknowledge that no affirmative claims exist with
                               respect to the Bridge Lender, B2 FIE IV LLC, LVS II Offshore,
                               L.P., LVS II Holdings, LP, and Bravo II Guarantor I LLC, and each
                               of their respective affiliates, advisors, investment managers,
                               employees, officers, directors, agents, subagents, and
                               representatives, in each case, with respect to any matters, and
                               (iii) release and waive any such claims, including affirmative causes
                               of action and objections to claims, with respect to the Bridge
                               Lender, B2 FIE IV LLC, LVS II Offshore, L.P., LVS II Holdings,
                               LP, and Bravo II Guarantor I LLC, and each of their respective
                               affiliates, advisors, investment managers, employees, officers,
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                               directors, agents, subagents, and representatives, in each case. The
                               Final Cash Flow DIP Order shall also prohibit the assertion of
                               claims under section 506(c) of the Bankruptcy Code against the
                               Cash Flow DIP Lender and provide that the Cash Flow DIP Lender
                               and its counsel, advisors and consultants shall be entitled to the
                               benefit a “good faith” finding pursuant to section 364(e) of the
                               Bankruptcy Code.

                               Pursuant to section 363(k) of the Bankruptcy Code, the Cash Flow
                               DIP Lender shall have the exclusive right to credit bid the Cash
                               Flow DIP Obligations with respect to any bulk or piecemeal sale of
                               all or any portion of the Cash Flow DIP Collateral.

   Remedies:                   Upon the occurrence of an Event of Default, the Cash Flow DIP
                               Lender shall have customary remedies, including, without
                               limitation: (i) delivering a notice of an Event of Default; (ii)
                               charging the default rate of interest on the Cash Flow DIP Facility
                               and other outstanding obligations; (iii) terminating all commitments
                               under the Cash Flow DIP Facility; and (iv) exercising, upon five (5)
                               business days’ prior written notice to the Debtors, their rights to
                               realize on any or all Cash Flow DIP Collateral without the necessity
                               of obtaining any further relief or order from the Bankruptcy Court.
                               Upon five (5) business days’ written notice from the Cash Flow DIP
                               Lender, in its sole and absolute discretion, following an Event of
                               Default, the automatic stay of section 362 of the Bankruptcy Code
                               shall be terminated without further order of the Bankruptcy Court,
                               without the need for filing any motion for relief from the automatic
                               stay or any other pleading, for the limited purpose of permitting the
                               Cash Flow DIP Lender to do any of the following: (i) foreclose on
                               the Collateral; (ii) accelerate all loans and other outstanding
                               obligations under the Cash Flow DIP Facility; and (iii) declare the
                               principal of and accrued interest, premiums, fees and expenses
                               constituting the obligations under the Cash Flow DIP Facility to be
                               due and payable. Section 362 relief from the stay in favor of the
                               Cash Flow DIP Lender shall be embodied in any order approving
                               the Cash Flow DIP Facility and the use of cash collateral.

                               The Bankruptcy Court shall retain exclusive jurisdiction with
                               respect to all matters relating to the exercise of rights and remedies
                               under the Cash Flow DIP Documents, the Interim Cash Flow DIP
                               Order, the Final Cash Flow DIP Order and with respect to the Cash
                               Flow DIP Collateral. The only issue as to which the Debtors may
                               seek Bankruptcy Court intervention at any hearing seeking to delay
                               or prevent the Cash Flow DIP Lender from exercising remedies



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                               shall be whether an Event of Default has, in fact, occurred and is
                               continuing.

   Mandatory Prepayments:      Subject to the Cash Flow DIP Orders, usual and customary for
                               facilities of this type and acceptable to the Cash Flow DIP Lender,
                               including, in an amount equal to (a) 100% of net insurance and
                               condemnation proceeds (excluding business interruption insurance
                               proceeds), (b) 100% of net cash proceeds from the issuance of post-
                               petition indebtedness not permitted by the Cash Flow DIP
                               Documents and (c) 100% of the net cash proceeds of any asset sales
                               (other than DIP Repo Collateral) (without any reinvestment rights
                               or de minimis dollar carveouts). At the election of the Cash Flow
                               DIP Lender in its sole discretion, all or a portion of such mandatory
                               prepayments may be declined and available to the Debtors to be
                               used in accordance with the Approved DIP Budget.

                               Subject to the Carve-Out, all optional prepayments and mandatory
                               prepayments (within one business day of receipt thereof) shall be
                               applied as follows: first, to pay accrued and unpaid interest on, and
                               expenses in respect of, the obligations under the Cash Flow DIP
                               Facility, to the extent then due and payable; and second, to repay
                               any principal amounts or other obligations which have been
                               advanced and are outstanding under the Cash Flow DIP Facility.
   Optional Prepayments:       The Debtors may, upon at least one business days’ notice, prepay
                               in full or in part, the Cash Flow DIP Facility, without premium or
                               penalty; provided, however, each such partial prepayment shall be
                               in a minimum amount to be agreed. Once repaid, Cash Flow DIP
                               Loans may not be re-borrowed.
   Representations and         Usual and customary for facilities of this nature and others to be
   Warranties:                 reasonably specified by the Cash Flow DIP Lender.

   Affirmative and Negative    Usual and customary for facilities of this type and acceptable to the
   Covenants:                  Cash Flow DIP Lender, and to include covenants that: (i) no leases
                               or executory contracts may be assumed or rejected without the prior
                               written consent of the Cash Flow DIP Lender in its reasonable
                               discretion, and (ii) advance copies of all material pleadings and/or
                               filings in the Cases to be made by the Debtors shall be provided to
                               the Cash Flow DIP Lender prior to filing. Additional covenants
                               include, without limitation:

                                    (a) due organization and authorization, enforceability, financial
                                        condition, no material adverse changes;




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                                    (b) perfection and priority of liens securing the Cash Flow DIP
                                        Facility, amount of prepetition debt, amount and nature of
                                        existing debt, and effectiveness of borrowing orders;

                                    (c) prohibitions against the Debtors using any cash or the
                                        proceeds of any Cash Flow DIP Loans in a manner or for a
                                        purpose other than in accordance with the Cash Flow DIP
                                        Facility and Approved DIP Budget, subject to the Budget
                                        Compliance Covenant;

                                    (d) continued retention of the Chief Restructuring Officer, the
                                        Operations Consultant, Darien Oien, Thomas Ramm;

                                    (e) timely delivery of the Approved DIP Budget and variance
                                        reports;

                                    (f) delivery of monthly financial statements, reports,
                                        accountants’ letters, projections, officers’ certificates;

                                    (g) delivery of reporting and other information reasonably
                                        requested by the Cash Flow DIP Lender (including
                                        information required to be delivered pursuant to the Cases
                                        and such other reporting as set forth herein);

                                    (h) provision of regular updates as determined by the Cash Flow
                                        DIP Lender in its sole discretion, as to prospective
                                        purchasers’ receipt of marketing materials, and the receipt
                                        by the Debtors of indications of interest and other
                                        documentation from potential purchasers thereon;

                                    (i) maintenance of existence;

                                    (j) maintenance of properties, notices of default, litigation and
                                        other material events;

                                    (k) payment of taxes; compliance with laws, receipt of
                                        governmental approvals, environmental compliance,
                                        licenses and certifications;

                                    (l) maintenance of books and records;

                                    (m) naming of the Cash Flow DIP Lender as additional insureds
                                        on all insurance policies; and

                                    (n) compliance with the Budget Compliance Covenant.



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                                 Unless waived by the Cash Flow DIP Lender, breach of any of the
                                 foregoing shall be an Event of Default.

   Conditions Precedent to the   The Cash Flow DIP Documents will contain the following
   Cash Flow DIP Facility:       conditions precedent to the Cash Flow DIP Facility:

                                    (a) The form and substance of the first day orders shall be
                                        reasonably satisfactory to the Cash Flow DIP Lender.

                                    (b) The preparation, authorization and execution of the
                                        agreements with respect to the Cash Flow DIP Facility and
                                        the Repo DIP Facility (which shall include refinancing of
                                        mortgage loans funded by Bridge Lender before the Petition
                                        Date), in form and substance reasonably satisfactory to the
                                        Cash Flow DIP Lender.

                                    (c) No later than four business days after the Petition Date, the
                                        Bankruptcy Court shall have entered the Interim Cash Flow
                                        DIP Order, in form and substance reasonably satisfactory to
                                        the Cash Flow DIP Lender.

                                    (d) All premiums, fees and documented out of pocket fees and
                                        expenses (including reasonable and documented fees and
                                        expenses of counsel and financial advisors) required to be
                                        paid to the Cash Flow DIP Lender on or before the Cash
                                        Flow DIP Closing Date for which invoices have been
                                        presented shall have been paid.

                                    (e) [reserved].

                                    (f) [reserved].

                                    (g) The Cash Flow DIP Lender shall have a valid and perfected
                                        lien on and security interest in the Cash Flow DIP Collateral
                                        with the priority described herein.

                                    (h) No default or event of default shall exist under the Cash
                                        Flow DIP Documents.

                                    (i) The representations and warranties of the Debtors under the
                                        Cash Flow DIP Documents shall be true and correct in all
                                        material respects after giving effect to such funding.

                                    (j) The Debtors shall have established a cash management
                                        system for the Cases reasonably satisfactory to the Cash
                                        Flow DIP Lender.


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                                    (k) The retention by the Debtors of the Chief Restructuring
                                        Officer on the Petition Date and the Operations Consultant
                                        who shall have been retained prior to the Petition Date.

                                    (l) The Cash Flow DIP Lender shall have received a certificate
                                        from the Debtors’ insurance broker or other evidence
                                        satisfactory to it that all insurance required to be maintained
                                        pursuant to the Cash Flow DIP Documents is in full force
                                        and effect and that the Cash Flow DIP Lender has been
                                        named as additional insured and/or lenders loss payee
                                        thereunder to the extent required under the Cash Flow DIP
                                        Documents.

   Conditions Precedent to     In advance of the Closing Date and any Initial Borrowing or
   Each Borrowing:             Subsequent Borrowing, the following conditions precedent shall
                               have been satisfied:

                                    (a) No default or event of default shall exist under the Cash
                                        Flow DIP Documents.

                                    (b) The making of a Cash Flow DIP Loan shall not violate any
                                        requirement of law and shall not be enjoined, temporarily,
                                        preliminarily or permanently.

                                    (c) The Cash Flow DIP Lender shall have received a borrowing
                                        notice, substantially in the form as attached to the Cash Flow
                                        DIP Term Loan Agreement.

                                    (d) The Cash Flow DIP Orders (and in the case of Interim Cash
                                        Flow DIP Order only) shall be in full force and effect and
                                        shall not have been vacated, reversed, modified, amended or
                                        stayed in any manner adverse in any material respect to the
                                        Cash Flow DIP Lender without the consent of the Cash
                                        Flow DIP Lender.

   Events of Default:          Usual and customary for facilities of this nature and others to be
                               reasonably specified by the Cash Flow DIP Lender, including,
                               without limitation:

                                    (a) failure to make any payment of principal, interest or fees
                                        when due;

                                    (b) representations and warranties that were materially incorrect
                                        when made;

                                    (c) failure to observe or perform certain covenants;


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                                    (d) failure to observe or perform any other covenant, condition,
                                        or agreement in the Cash Flow DIP Documents, subject to a
                                        cure period;

                                    (e) failure to satisfy or stay execution of judgments above
                                        $50,000;

                                    (f) default in other agreements relating to postpetition
                                        indebtedness (including the Repo DIP Facility Documents);

                                    (g) any material provision of any Cash Flow DIP Document
                                        shall cease to be in full force and effect, or cease to create a
                                        valid and perfected lien;

                                    (h) certain events involving ERISA;

                                    (i) a change in control;

                                    (j) dismissal of the Cases (other than in connection with a
                                        transfer of venue of the Cases, so long as there remains a
                                        pending proceeding in the Bankruptcy Court under the
                                        Bankruptcy Code with respect to each Debtor) or conversion
                                        of the Cases into cases under chapter 7 of the Bankruptcy
                                        Code;

                                    (k) a trustee, receiver or examiner shall have been appointed in
                                        one or more of the Cases;

                                    (l) granting of relief from any stay of proceeding (including the
                                        automatic stay) so as to allow a third-party to proceed
                                        against any material asset of the Debtors, except as the Cash
                                        Flow DIP Lender may reasonably approve;

                                    (m) entry of an order granting any superpriority claim which is
                                        senior to or pari passu with the Cash Flow DIP Lender’s
                                        claims under the Cash Flow DIP Facility without the prior
                                        consent of the Cash Flow DIP Lender or as otherwise
                                        provided in the Cash Flow DIP Orders (other than as
                                        described under the caption “Priority” above);

                                    (n) entry of an order staying, reversing, vacating or otherwise
                                        modifying, without the prior written consent of the Cash
                                        Flow DIP Lender, the Cash Flow DIP Facility, the Interim
                                        Cash Flow DIP Order or the Final Cash Flow DIP Order,
                                        other than in connection with a transfer of venue of the



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                                       Cases, and such order is not stayed or reversed within two
                                       business days after entry thereof;

                                    (o) Payment of, or granting adequate protection with respect to,
                                        prepetition debt (other than as contemplated by the Cash
                                        Flow DIP Orders) in a manner that requires cash
                                        expenditures in excess of $50,000 either (i) not
                                        contemplated by the Approved DIP Budget or (ii) would
                                        have a material adverse effect on the Cash Flow DIP
                                        Collateral (as reasonably determined by the Cash Flow DIP
                                        Lender), in each case, unless otherwise agreed by the Cash
                                        Flow DIP Lender;

                                    (p) cessation of liens or superpriority claims granted with
                                        respect to the Cash Flow DIP Collateral to be valid,
                                        perfected and enforceable in all respects with the priority
                                        described herein;

                                    (q) failure to satisfy any Milestone;

                                    (r) (i) the removal or attempted removal by the Debtors, or
                                        replacement or attempted replacement by the Debtors of the
                                        Chief Restructuring Officer as an officer of any Debtor, (ii)
                                        the dissolution or attempted dissolution of the position of the
                                        Chief Restructuring Officer as an officer of any Debtor, or
                                        the change or derogation or attempted change or derogation
                                        of the duties thereof, or (iii) the hindering or other
                                        circumvention or attempted hindering or other
                                        circumvention of the duties of the Chief Restructuring
                                        Officer;

                                    (s) (i) absent the consent of the Cash Flow DIP Lender, the
                                        removal or attempted removal by the Debtors, or
                                        replacement or attempted replacement by the Debtors of the
                                        Operations Consultant to the Debtors, or (ii) the hindering
                                        or other circumvention or attempted hindering or other
                                        circumvention of the duties of the Operations Consultant;

                                    (t) appointment of a responsible officer or examiner with
                                        enlarged powers relating to the operation of the business of
                                        any of the Debtors;

                                    (u) obtaining additional financing or granting liens not
                                        permitted under the Cash Flow DIP Facility (unless the Cash
                                        Flow DIP Facility is indefeasibly paid in full in cash) or
                                        using cash collateral without the consent of Cash Flow DIP
                                        Lender or seeking to reduce, set-off or subordinate Cash
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                                        Flow DIP Obligations or related liens;

                                    (v) the entry of an order granting automatic stay relief to a third
                                        party allowing them to foreclose on any asset worth more
                                        than $50,000; and

                                    (w) a Debtor or any subsidiary becomes adverse in any lawsuit
                                        to the Cash Flow DIP Lender.

                                 Unless waived by the Cash Flow DIP Lender, breach of any of the
                                 foregoing shall be an Event of Default.

   Expense Reimbursement:        Each Debtor shall jointly and severally be obligated to pay all
                                 reasonable and documented out-of-pocket costs and expenses of the
                                 Cash Flow DIP Lender, including all reasonable and documented
                                 counsel to the Cash Flow DIP Lender in connection with (i) the
                                 discussion, negotiation, preparation, execution and delivery of any
                                 documents in connection with the Cash Flow DIP Facility,
                                 including the Cash Flow DIP Documents and the funding of all
                                 Cash Flow DIP Loans, the administration of the Cash Flow DIP
                                 Facility and any amendment, modification or waiver of any
                                 provision of the Cash Flow DIP Documents, (ii) the interpretation,
                                 enforcement or protection of any of its rights and remedies under
                                 the Cash Flow DIP Documents or (iii) the Cases.
   Indemnification               Each Borrower and Guarantor shall indemnify the Cash Flow DIP
                                 Lender and its affiliates and their respective advisors, investment
                                 managers, employees, officers, directors, agents, subagents, and
                                 representatives in relation to the Cash Flow DIP Documents and the
                                 Cash Flow DIP Orders, except to the extent arising solely out of
                                 fraud or willful misconduct of the Cash Flow DIP Lender.

   Governing Law and             This Cash Flow DIP Documents will be governed by the
   Submission to Jurisdiction:   Bankruptcy Code, and the laws of the State of New York.




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